           CASE 0:18-cr-00149-SRN-DTS Doc. 17 Filed 06/28/18 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                            Case No. 18-149 (SRN/SER)

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                       ORDER OF DETENTION
      v.

NORRIS ANDREWS,

                     Defendant.


      This matter came before the Court on June 26, 2018, upon the motion of the

United States for an order of detention. The defendant was present and represented by

his attorney, Lisa Lopez.1 The United States was represented by Assistant United States

Attorney Jeffrey S. Paulsen.

      The defendant is charged by indictment with being a felon in possession of a

firearm as an Armed Career Criminal. The indictment establishes probable cause to

believe the defendant committed the offense charged.

      The defendant waived a formal detention hearing and agreed to the entry of an

order of detention against him, subject to his right to move to reopen the detention

hearing if circumstances change. There is presently a Department of Corrections hold on

the defendant from a prior case, which is scheduled to expire in mid-August 2018.

      Based upon the information in the report of Pretrial Services, and on the

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 The defendant indicated at the detention hearing that he does not wish to be represented
by Ms. Lopez. He was also clear that he did not wish to represent himself. The
defendant was directed to file a motion for new counsel if he continues to be dissatisfied
with being represented by Ms. Lopez.
           CASE 0:18-cr-00149-SRN-DTS Doc. 17 Filed 06/28/18 Page 2 of 2




defendant’s waiver of a formal detention hearing, the Court concludes that there has been

a clear and convincing showing that no condition or combination of conditions of bond

will reasonably ensure the safety of the community, and a showing by the preponderance

of the evidence that no condition or combination of conditions of bond will reasonably

ensure the defendant's appearance in court.

      Accordingly, IT IS HEREBY ORDERED that:

      1.       The motion of the United States for detention of defendant is granted;

      2.       Defendant is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

      3.       Defendant shall be afforded reasonable opportunity to consult privately

with his lawyer; and

      4.       Upon Order of the Court or request by the United States Attorney, the

person in charge of the corrections facility in which the defendant is confined shall

deliver him to the United States Marshal for the purpose of appearance in connection

with a court proceeding.


Dated: June 28, 2018

                                          s/Hildy Bowbeer
                                          HILDY BOWBEER
                                          UNITED STATES MAGISTRATE JUDGE




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